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                                                                                           7/29/2020
                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK



 CHASE WILLIAMS and WILLIAM ZHANG,
 individually and on behalf of all others similarly
 situated,
                                                          Case No. 1:20-cv-02805-ALC
                             Plaintiffs,
                                                          Honorable Andrew L. Carter
                        v.

 HDR GLOBAL TRADING LIMITED, ABS
 GLOBAL TRADING LIMITED, ARTHUR
 HAYES, BEN DELO, and SAMUEL REED,

                             Defendants.



                      ORDER APPOINTING LEAD PLAINTIFF
                AND APPROVING SELECTION OF CO-LEAD COUNSEL

       On this 29th        July
               ___ day of ________ 2020, the Court considered Chase Williams’s Motion for

Appointment of Lead Plaintiff and Approval of Selection of Co-Lead Counsel in the above-

captioned action pursuant to the Private Securities Litigation Reform Act of 1995, 15 U.S.C.

§§ 77z-1(a)(3)(B), 78u-4(a)(3)(B). Having considered the Motion, and the materials submitted in

support thereof, the Motion is GRANTED.

       IT IS HEREBY ORDERED THAT:

   1. Chase Williams is appointed Lead Plaintiff in the above-captioned action.

   2. The Court designates the law firms Roche Cyrulnik Freedman LLP and Selendy & Gay

       PLLC as Co-Lead Counsel in this action.

   3. Co-Lead Counsel shall be generally responsible for coordinating activities during pretrial

       proceedings and shall:




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            a. Determine and present (in briefs, oral argument, or other fashion as may be

                  appropriate, personally or by a designee) to the Court and opposing parties the

                  position of Lead Plaintiff and the proposed class on all matters arising during

                  pretrial proceedings;

            b. Coordinate the conduct of discovery on behalf of Lead Plaintiff and the proposed

                  class consistent with the requirements of Rule 26 of the Federal Rule of Civil

                  Procedure, including preparation of interrogatories and requests for production of

                  documents and the examination of witnesses in depositions;

            c. Conduct settlement negotiations on behalf of Lead Plaintiff and the proposed class;

            d. Enter into stipulations with opposing counsel as necessary for the conduct of the

                  litigation;

            e. Prepare the case for and conduct trial; and

            f. Perform such other duties as may be incidental to the proper coordination of pretrial

                  and trial activities or authorized by future order of the Court.

   4. All securities class actions raising similar claims that are subject to the Private Securities

         Litigation Reform Act of 1995, 15 U.S.C. §§ 77z-1, 78u-4, subsequently filed in or

         transferred to the United States District Court for the Southern District of New York shall

         be consolidated into this action, and this Order shall apply to every such action, absent any

         further order of the Court.


Dated:     July            29, 2020


                                                         Andrew L. Carter
                                                         United States District Judge




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